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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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      ASSOCIATED PRODUCTION               )   CASE NO.: 2:23-CV-01173-SPG-PVC
 12   MUSIC LLC, a New York limited       )
      liability company,                  )   ORDER GRANTING STIPULATION
 13                                       )   EXTENDING TIME TO RESPOND
                              Plaintiff,  )   TO COMPLAINT
 14                                       )
                   v.                     )   Judge: Hon. Sherilyn Peace Garnett
 15   MAJOR LEAGUE SOCCER,                )
      L.L.C., a Delaware corporation; et  )   Complaint Filed: February 16, 2023
 16   al.,                                )
                                          )
 17                           Defendants. )
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